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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES -- GENERAL


Case No.     CV 18-1487-MWF(GJSx)                                        Dated: April 2, 2018

Title:       Maria De Leon -v- Target Corporation, et al.

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                   Amy Diaz
             Courtroom Deputy                               Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:               ATTORNEYS PRESENT FOR DEFENDANTS:

             Randolp R. Ramirez                         Anthony W. Werbin


PROCEEDINGS:             SCHEDULING CONFERENCE


      Case called and counsel make their appearance. The Scheduling Conference held. The
Court sets dates. Please see separate Order Re Jury Trial, also filed today.

         IT IS SO ORDERED.




                                                                             Initials of Deputy Clerk rs
                                                                                            :04 MIN
